                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 1:06CR167
                                             )
               vs.                           )       ORDER FOR DISMISSAL
                                             )
2)OSCAR MAGULAR GONZALEZ                     )


       THIS MATTER is before the Court on the Government’s motion to dismiss the Bill of

Indictment only as to the captioned Defendant without prejudice.

       For cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the indictment against the Defendant Oscar Magular Gonzalez only is hereby DISMISSED

WITHOUT PREJUDICE.

       The Clerk is directed to transmit this Order electronically to the U.S. Probation Office,

the U. S. Attorney’s Office, the U. S. Marshal’s Service, and defense counsel.

                                                 Signed: March 10, 2008




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